     Case 3:15-cr-00032-JWD-EWD                       Document 469            10/13/17        Page 1 of 24




                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA
                                                      CR. NO. 15-32-JWD-EWD
VERSUS
                                                      JUDGE JOHN W. deGRAVELLES
OSCAR ARTURO
MACHADO-GALEANA, ET AL.

                                           RULING AND ORDER

         I.       INTRODUCTION

         Before the Court are three motions that seek to suppress evidence obtained through the

use of wiretaps (the “Wiretap Motions”). The first Wiretap Motion, styled as a “Motion to

Suppress Evidence Seized Through Wiretaps,” was filed by defendant Oscar Arturo Machado-

Galeana’s current attorney, Martin E. Regan. (“Machado-Galeana’s Motion,” Doc. 416). The

second Wiretap Motion, styled as a “Motion to Suppress Wiretap Evidence,” was filed by

Machado-Galeana’s former attorney, Rusty M. Messer.1 (Doc. 419). The third Wiretap Motion,

styled as a “Motion to Suppress Evidence Seized Through Wiretaps,” was filed on behalf of

defendant Roy Martin Herrera Romero (collectively with Machado-Galeana, “Defendants”).

(“Romero’s Motion,” Doc. 395). The Government opposes, (“Opposition,” Doc. 435), and, on

April 11, 2017, the Court held a hearing on the Wiretap Motions, (Doc. 450; see also Doc. 453

(“Hrg. Tr.”)). Machado-Galeana, Romero, and the Government have also filed post-hearing

memoranda in further support of their positions. (Docs. 461, 457, and 460, respectively).

         After careful consideration of the law, the facts of this case, and the parties’ arguments,

for the reasons set forth below, the Wiretap Motions are DENIED.

1
  The arguments in the Wiretap Motion filed by Machado-Galeana’s former attorney are identical in all relevant
respects to those made in the Wiretap Motion filed by current counsel. In the interest of clarity, the Court primarily
refers to and cites the Wiretap Motion filed by current counsel.

                                                          1
       Case 3:15-cr-00032-JWD-EWD                   Document 469            10/13/17        Page 2 of 24




        II.      FACTUAL BACKGROUND

                 A. The First Wiretap Application

        In November 2014, the Government filed an application to intercept wire and electronic

communications occurring over cellular telephone number (225) 485-1386, used by Alexander P.

Nava.    (See Doc. 435-1 at 1-2). Chief Judge Brian A. Jackson approved the application,

authorizing a thirty-day period in which to intercept communications. (See id. at 12, 75).

Attached to the application was the supporting affidavit of Charles Scott Courrege, a Task Force

Officer with the Drug Enforcement Administration (“DEA”). (Id. at 18). Courrege’s affidavit

described the following background:2

         On June 18, 2014, a cooperating source (“CS”) who has provided information to the

DEA since 2014 contacted an undercover agent (“UC-1”), telling UC-1 that the CS would

introduce UC-1 to Nava, who was known to sell methamphetamine and was looking for

customers in the Baton Rouge area. (Id. at 28-29). Later that day, the CS phoned UC-1 and

introduced Nava, and Nava told UC-1 that he could supply UC-1 with “any quantity of

methamphetamine he wished to purchase.” (Id. at 29). Nava quoted prices to UC-1 and told

UC-1 to contact him at (225) 485-1386 if he wished to purchase methamphetamine. (Id. at 29-

30).

        On June 24, 2014, UC-1 called Nava and negotiated the purchase of an ounce of

methamphetamine. (Id. at 30-31). Nava agreed to meet UC-1 at a gas station to conduct the

sale, and UC-1 and another undercover agent (“UC-2”) met Nava at the gas station and

conducted the sale. (Id. at 31-32). Based upon information later obtained via subpoena, during

the sale Nava contacted a phone with telephone number (225) 384-1879, for which Machado-

2
 When describing the content of Courrege’s various affidavits and the arguments of the parties, the Court generally
omits repeated references to what “Courrege alleged” or what “Machado-Galeana [or Romero or the Government]
argues” where it is clear from context that a statement is an allegation rather than an established fact.

                                                        2
     Case 3:15-cr-00032-JWD-EWD              Document 469         10/13/17    Page 3 of 24




Galeana was listed as the subscriber. (Id. at 32). Agents also later located a car that Nava had

used during the transaction; according to DMV information, at the time when the car was located

it was parked at Machado-Galeana’s residence near a car that Machado-Galeana owned. (Id. at

31, 33).

       On July 9, 2014, UC-1 called Nava and negotiated the purchase of two ounces of

methamphetamine at the same gas station. (Id. at 33). Before the meeting occurred, Nava

informed UC-1 that his “cousin” would deliver methamphetamine on his behalf. (Id. at 34).

Machado-Galeana later arrived at the gas station and conducted the sale. (Id.).

       On July 11, 2014, Magistrate Judge Stephen Riedlinger signed an order authorizing the

activation of a pen register on the (225) 485-1386 telephone. (Id. at 35).

       On July 28, 2014, Nava and UC-1 negotiated a sale of two ounces of methamphetamine,

plus an additional ounce to be paid for later. (Id. at 36). UC-1 and UC-2 went to the gas station,

where Machado-Galeana later arrived and conducted the sale. (Id. at 36-37).

       On August 18, 2014, Nava and UC-1 negotiated a sale of methamphetamine. (Id. at 39).

During the course of their conversation, Nava texted UC-1 to say “U know? U dealing with the

cartel now? U still want to do it[?]” (Id.). After UC-1 and UC-2 arrived at the gas station, Nava

called UC-1 and asked UC-1 to follow him to another location. (Id. at 40). Nava and Machado-

Galeana then arrived at the gas station, and UC-1 and UC-2 followed them to a convenience

store, where the sale was ultimately conducted. (Id. at 40-41).

       On September 2, 2014, Nava and UC-1 negotiated a sale of methamphetamine, which

occurred at the same convenience store in the presence of Nava and Machado-Galeana. (Id. at

41-45). During the sale, UC-1 used an undercover vehicle that had a “trap,” i.e., a hidden




                                                 3
     Case 3:15-cr-00032-JWD-EWD              Document 469         10/13/17    Page 4 of 24




compartment used to conceal drugs and money, installed in the trunk; he later asked Nava to let

him know if Nava was “interested in [a] trap install.” (Id. at 43-45).

        On September 24, 2014, UC-1 contacted Nava and arranged to pay for methamphetamine

that had previously been “fronted” to UC-1. (Id. at 45). UC-2 met Nava at the gas station,

provided Nava with money owed, and discussed future methamphetamine sales. (Id. at 45-46).

        In addition to this background, Courrege’s affidavit contained a section discussing why a

wiretap was necessary, i.e., why “normal investigative techniques” had failed to fully achieve the

investigation’s objectives, were unlikely to succeed if tried, or were too dangerous to be tried.

(Id. at 53).

        With respect to confidential sources, Courrege represented that confidential sources

normally have “limited information, either furnished by a subject or learned secondhand from

others,” and that information provided by confidential sources would not result in a successful

prosecution of all members of the drug trafficking operation. (Id. at 53). The sole CS developed

in the case provided “valuable” information but did not have “enough access” to Nava, the CS

could not advise agents about pending deliveries or the transportation of methamphetamine, and

the CS had “no involvement” with narcotics trafficking. (Id. at 53-54). The CS was a “mere

acquaintance” of Nava’s and was not able to spend time around Nava to gain information or

meet other members of the organization. (Id. at 54). The CS also had no information about

money laundering activities conducted by Nava’s organization. (Id. at 55). The CS was willing

to testify at trial, but, absent evidence gathered via wiretap, the CS’s testimony would be

insufficient to convict all members of the organization. (Id. at 55-56).

        With respect to controlled purchases, Courrege represented that the controlled purchases

that had already been performed were useful, but they were “limited to what [was] occurring



                                                 4
     Case 3:15-cr-00032-JWD-EWD               Document 469          10/13/17      Page 5 of 24




only at the time and place of the controlled purchase.” (Id. at 56-57). Controlled purchases

provided evidence against Nava, Machado-Galeana, and anyone who assisted them during the

purchase, but did not reveal evidence identifying suppliers, locations where drugs were kept or

hidden, and methods of delivery or transportation. (Id. at 56-57).

         With respect to physical surveillance, Courrege represented that physical surveillance is

generally used to “confirm meetings and other suspected criminal activity,” but it provides

insufficient evidence to prove the purpose of these meetings and activities. (Id. at 57). However,

when physical surveillance is combined with a wiretap, “the purpose of meetings takes on a new

significance.” (Id.). The subjects of this investigation are “extremely cautious” and aware of

law enforcement surveillance, and they actively conduct counter-surveillance and “heat checks”

to determine whether they are the subjects of physical surveillance. (Id. at 57-58). Courrege

provided a few examples of “heat checks” and other counter-surveillance that Machado-Galeana

and other persons associated with Nava had engaged in. (Id. at 58-60). While conducting

physical surveillance, officers had also stopped a Ford F-150 truck associated with Machado-

Galeana but had obtained little useful information, and further stops would risk alerting Nava

and Machado-Galeana to the presence of law enforcement. (Id. at 61). However, physical

surveillance conducted in conjunction with electronic surveillance would “achieve the objectives

of the investigation and lead to the seizure of drugs and assets.” (Id. at 62).

       With respect to undercover agents, Courrege represented that undercover agents had

successfully purchased large quantities of drugs from Nava and Machado-Galeana. (Id. at 62).

However, there was “no evidence” that conducting additional purchases through undercover

agents would permit agents to “move beyond” Nava and Machado-Galeana. (Id.). Courrege

noted particularly that Nava had stated that he could provide up to ten pounds of



                                                  5
     Case 3:15-cr-00032-JWD-EWD              Document 469         10/13/17      Page 6 of 24




methamphetamine at a time and that intelligence gathering after buys had been limited for

similar reasons to those previously described with respect to confidential sources. (Id.).

       With respect to search warrants, Courrege represented that a single search warrant to

install a GPS device on a vehicle had been executed during the investigation. (Id.). Although

additional search warrants might provide “some evidence” of criminal activity, they would not

be effective at achieving the overall goals of the investigation. (Id. at 62-63). Particularly,

search warrants for locations used during the controlled purchases might result in the arrests of

Nava and Machado-Galeana, but they would likely not result in the arrest of unidentified

suppliers. (Id. at 63). Based upon Courrege’s experience, Mexican nationals are “not likely” to

cooperate following arrest, and the arrest of Nava and Machado-Galeana would probably not

lead to the identification of other members of the organization. (Id.). A search warrant also

might be rendered more effective in conjunction with a wiretap: intercepted communications

could inform agents about the current location of contraband, and a search warrant could follow

immediately.    (Id.).   Obtaining prior electronic communications is similarly an inadequate

substitute for real-time interception, as information is received too late to make “adequate

enforcement decisions” and direct agents to specific locations. (Id. at 64).

       With respect to interviews, Courrege represented that no known members of the

organization had been arrested, and interviews would produce insufficient information

concerning the identities of all the persons involved in the conspiracy, sources of drugs,

financing of drug purchases, and the identities of larger cocaine suppliers. (Id. at 64-65).

Responses to interview questions would likely contain “a significant number of half-truths and

untruths” that could divert or frustrate the investigation. (Id. at 65). Interviews would also risk

alerting members of the conspiracy about the investigation. (Id.).



                                                 6
     Case 3:15-cr-00032-JWD-EWD              Document 469          10/13/17     Page 7 of 24




       With respect to grand jury subpoenas, Courrege represented that subjects called to testify

may invoke their Fifth Amendment privilege, grand jury immunity might foreclose prosecution

of the most culpable people, and most of the individuals identified during the investigation

participate in illegal activities and would likely lie under oath. (Id.). Courrege was not aware of

any person who could be subpoenaed to provide “significant and truthful evidence” to prove the

crimes identified, and the use of grand jury techniques would alert conspirators to the existence

of the investigation and lead them to be “more circumspect” in their conduct. (Id.).

        With respect to trash searches, Courrege represented that evidence obtained from such

searches would not be sufficient to prosecute Nava and Machado-Galeana or their sources of

supply and co-conspirators. (Id. at 66). There are also “great risks” associated with conducting

trash searches, as Machado-Galeana’s residence is in a high-crime neighborhood and neither

Machado-Galeana’s house nor Nava’s house provide adequate cover and concealment to attempt

trash searches. (Id.). The convenience store is located in a shopping center; because trash in

shopping centers was often intermingled from several business, a trash search of the convenience

store is unlikely to result in useful evidence. (Id.).    Additionally, if agents were discovered

conducting a trash search, it might be mistaken for illegal activity, and the investigation could be

compromised and agents might be placed in danger. (Id. at 67).

       With respect to other investigative techniques, Courrege represented that a GPS tracking

device had been used in this investigation, but GPS location information only alerts agents that a

vehicle may be located in an area used by members of a criminal organization. (Id. at 67). It

does not inform the agents of who is present and what activity is occurring. (Id.). Since the GPS

tracking device was installed in this investigation, the vehicle upon which it was installed had

traveled to Lafayette, Louisiana and had not returned.        (Id.).   Machado-Galeana had been



                                                 7
     Case 3:15-cr-00032-JWD-EWD               Document 469         10/13/17      Page 8 of 24




observed driving four vehicles since the investigation began, and the likelihood of agents being

discovered installing a tracking device was “great.” (Id.). Some of the vehicles being used had

temporary registrations, and agents had not been able to establish their use until after a drug sale.

(Id.).

         According to Courrege, agents had also installed a closed circuit television camera near

Machado-Galeana’s likely residence, but it was not in a position to “capture the exact

apartment,” and agents could only view parking lots near the building. (Id. at 68). There was

“heavy” pedestrian traffic in the area, making it difficult to determine who may be affiliated with

the organization. (Id.). All known transactions had occurred away from the residence, and the

camera only had an outside view of the residence. (Id.).

         A second closed circuit camera had been installed near the convenience store, but agents

had been unable to determine whether activity observed was illegal or the “nature of the business

inside.” (Id.).

         With respect to pen registers and other less intrusive forms of electronic monitoring,

Courrege represented that pen register and trap and trace devices had been used in this

investigation and would be used on an ongoing basis. (Id. at 69). However, these techniques

provide lists of phone numbers of incoming and outgoing calls, but they do not establish the

identities of all persons called or the content of conversations described. (Id.). Additionally,

narcotics traffickers often purchase prepaid phones that are not required to list subscriber

information; traffickers may also use fictitious names or the names of family members when

subscribing to a phone service. (Id.).

         With respect to mail cover requests, Courrege represented that this technique would not

yield evidence demonstrating the role associates play in criminal activity, the location of



                                                 8
     Case 3:15-cr-00032-JWD-EWD               Document 469          10/13/17      Page 9 of 24




controlled substances, and the manner of supply and distribution of controlled substances. (Id. at

69-70). This technique requires a mail carrier otherwise not involved in the investigation to list

senders, recipients, and addresses, and it risks intentionally or unintentionally disclosing the

investigation. (Id. at 69-70).

        Courrege represented that no wiretaps had previously been ordered in connection with

this investigation. (Id. at 70).

                B. The Second Wiretap Application

        In December 2014, the Government sought to intercept wire and electronic

communications occurring over cellular telephone number (225) 266-2186, used by Machado-

Galeana. (See Doc. 435-2 at 1-2). Chief Judge Brian A. Jackson approved the application,

authorizing a thirty-day period in which to intercept communications. (See id. at 12, 68).

Attached in support of the application was another supporting affidavit authored by Courrege.

(Id. at 16).   Courrege’s affidavit generally averred to the same information regarding the

background of the DEA’s investigation and the ineffectiveness or dangerousness of other

investigative techniques as the first application.        It also made the following additional

allegations:

        The DEA learned from the first wiretap that Machado-Galeana supplies drugs for Nava’s

sales, not vice versa, and is in direct contact with suppliers, while Nava is not. (Id. at 33-34, 63).

During calls intercepted by the first wiretap, Nava and Machado-Galeana referred to drugs being

stored at a business owned by Romero. (Id. at 34-35). Moreover, Machado-Galeana’s phone

was in contact with approximately seven phone numbers during the first wiretap, including a

number associated with Romero. (Id. at 34-35, 63). However, Romero’s precise role was

unclear and Nava, whose phone was the subject of the first wiretap, had no communications with



                                                  9
    Case 3:15-cr-00032-JWD-EWD              Document 469        10/13/17      Page 10 of 24




Romero. (Id. at 63-64). Machado-Galeana had also stated during an intercepted conversation

that he was in contact with a supplier, possibly in California, with whom Nava had no contact.

(Id. at 30, 64). The wiretap of Nava’s phone was therefore insufficient to help clarify Romero’s

role or identify the supplier. (Id. at 64). Relatedly, Nava likely made “a nominal fee” for

brokering drug transactions and was supplied with drugs by Machado-Galeana, but a wiretap of

Machado-Galeana’s phone would permit agents to follow drugs and drug proceeds that require

laundering or smuggling out of the United States. (Id.).

       Courrege’s affidavit also noted that, according to Nava, drugs were coming from a

Mexican cartel, and Machado-Galeana had a “Sinaloa” tattoo, “Sinaloa” being the name of a

Mexican state and the name of a cartel operating there. (Id. at 25). Nava also stated during an

intercepted call that he was working with “guys from Sinaloa.” (Id.)

               C. The Search Warrants

       In March 2015, the DEA applied for three search warrants, each of which was supported

by another affidavit authored by Courrege. The affidavit asserted the following:

       Between June 24 and September 24, 2014, undercover agents had purchased

methamphetamine from Nava and Machado-Galeana on multiple occasions. (Doc. 435-3 at 6-9).

During the investigation, agents observed Nava and Machado-Galeana repeatedly entering and

exiting a building at 11634 W. Sherwood Meadow Avenue. (Id.). A closed circuit television

camera had been installed at this location. (Id.). In December 2014, agents contacted the U.S.

Postal Inspection Service regarding packages arriving to the Sherwood Meadow address from

California; following a positive alert from a drug detection dog, a package containing nearly nine

pounds of marijuana was discovered and seized. (Id. at 11-12). Agents conducted additional




                                               10
    Case 3:15-cr-00032-JWD-EWD               Document 469         10/13/17        Page 11 of 24




surveillance of the Sherwood Meadow address and intercepted additional calls and text messages

among Nava, Machado-Galeana, and others concerning drug transactions. (Id. at 12-19).

        On February 24, 2015, Nava and an “unnamed co-defendant” were arrested at a hotel in

Baton Rouge. (Id. at 20). Nava was carrying a small amount of heroin and a firearm. (Id.). The

co-defendant explained that he sold methamphetamine under the direction of Nava and another

Hispanic male that Courrege believed to be Machado-Galeana.              (Id.).    The co-defendant

identified an apartment at the Sherwood Meadow address as one that Nava and others used to

store drugs and drug proceeds. (Id.). The co-defendant reported that he had seen a large quantity

of drugs in an ice chest inside the apartment on the previous day. (Id. at 20-21).

        On February 26, 2015, agents observed Machado-Galeana and another Hispanic male

leaving the Sherwood Meadow apartment carrying an ice chest. (Id. at 21). Agents saw

Machado-Galeana place the ice chest in a car registered to Romero’s mother and drive to 13822

Florida Boulevard, Suite 9, which was Romero’s residence. (Id.).

        On March 5, 2015, Nava bonded out of prison and contacted UC-1 to arrange a drug

transaction. (Id. at 21-22). They arranged to conduct the sale at a gas station about a mile away

from the Sherwood Meadow address. (Id. at 22). On March 12, 2015, Nava contacted UC-1

again, advising UC-1 that Nava would have the methamphetamine in an ice chest when he

arrived. (Id. at 30).

        On March 16, 2015, agents observed Nava and Machado-Galeana carrying an ice chest

out of the Sherwood Meadow apartment and placing it in a car. (Id. at 30). Nava and Machado-

Galeana drove to the Florida Boulevard address and placed the ice chest in a storage unit behind

the building. (Id. at 30-31).




                                                11
    Case 3:15-cr-00032-JWD-EWD                Document 469         10/13/17      Page 12 of 24




       In November 2014, agents intercepted communications between Nava and Machado-

Galeana in which Nava explained that he was leaving his home due to a dispute with his wife

and moving to a motel. (Id. at 34). Nava also explained that he feared that police would find

numerous firearms at his home. (Id.). Machado-Galeana suggested that Nava obtain a storage

unit to store the firearms, and Machado-Galeana also expressed interest in storing drugs in a

storage unit. (Id.). Later that month, agents observed Nava and Machado-Galeana traveling to a

storage unit rental facility, spending several minutes in the facility’s office, proceeding to a unit,

and then leaving the property. (Id. at 34-35). Agents later confirmed that Machado-Galeana and

Nava had rented Storage Unit 723. (Id. at 35).

       On January 6, 2015, agents intercepted communications between Machado-Galeana and

another individual in which the individual confirmed that he was in Baton Rouge with drugs.

(Id.). Machado-Galeana agreed to meet at the convenience store. (Id.). After Machado-Galeana

left the convenience store, agents intercepted a call during which Machado-Galeana confirmed

that he now had drugs and would proceed to store them. (Id. at 36). Machado-Galeana traveled

to Storage Unit 723 and “appeared to place” an object inside. (Id.).

       Based on the foregoing, the Government sought and received a search warrant for the

Sherwood Meadow apartment, (Doc. 435-3 at 1), the Florida Boulevard apartment and its

associated storage unit, (Doc. 435-4 at 1), and Storage Unit 723, (Doc 435-5 at 1). While

executing the search warrants, agents found methamphetamine, marijuana, scales, drug ledgers,

weapons, ammunition, plastic bags, a padlock and keys, identification documents for Machado-

Galeana, and other unspecified “documents.” (Doc. 435 at 17-18).




                                                 12
    Case 3:15-cr-00032-JWD-EWD               Document 469         10/13/17      Page 13 of 24




       III.    DISCUSSION

               a. Standard

       A suppression hearing allows the court to make a preliminary determination regarding the

admissibility of certain evidence allegedly obtained in violation of the defendant’s constitutional

rights under the Fourth Amendment. United States v. Merritt, 695 F.2d 1263, 1269 (10th Cir.

1982). “The proponent of a motion to suppress has the burden of proving, by a preponderance of

the evidence, that the evidence in question was obtained in violation of his [constitutional]

rights.” United States v. Kelley, 981 F.2d 1464, 1467 (5th Cir. 1993) (quoting United States v.

Smith, 978 F.2d 171, 176 (5th Cir. 1992)); see also United States v. Matlock, 415 U.S. 164, 177

n.14 (1974) (“[T]he controlling burden of proof at suppression hearings should impose no greater

burden than proof by a preponderance of the evidence.”).

       Title III of the Omnibus Crime Control and Safe Streets Act of 1968, also known as the

Wiretap Act, is codified at 18 U.S.C. §§ 2510—2522. Section 2518(3), the portion of the

Wiretap Act most relevant in this case, states:

       (3) Upon such application the judge may enter an ex parte order, as requested or
       as modified, authorizing or approving interception of wire, oral, or electronic
       communications within the territorial jurisdiction of the court in which the judge
       is sitting [. . .], if the judge determines on the basis of the facts submitted by the
       applicant that—

               (a) there is probable cause for belief that an individual is committing, has
                   committed, or is about to commit a particular offense enumerated in
                   section 2516 of this chapter;

               (b) there is probable cause for belief that particular communications
                   concerning that offense will be obtained through such interception;

               (c) normal investigative procedures have been tried and have failed or
                   reasonably appear to be unlikely to succeed if tried or to be too
                   dangerous;




                                                  13
    Case 3:15-cr-00032-JWD-EWD              Document 469         10/13/17      Page 14 of 24




               (d) except as provided in subsection (11), there is probable cause for belief
                   that the facilities from which, or the place where, the wire, oral, or
                   electronic communications are to be intercepted are being used, or are
                   about to be used, in connection with the commission of such offense,
                   or are leased to, listed in the name of, or commonly used by such
                   person.


(emphasis added). The probable cause required for a wiretap is identical to that required for an

ordinary search warrant. United States v. Green, 2005 WL 1041205 at *2 (E.D. La. Apr. 29,

2005) (citing United States v. Milton, 153 F.3d 891, 894 (8th Cir. 1998)).

       The “necessity requirement” of Section 2518(3)(c) “is intended to ensure that [f]ederal

wiretap authorization procedures ‘were not to be routinely employed as the initial step in

criminal investigation.’” United States v. Hyde, 574 F.2d 856, 867 (5th Cir. 1978) (quoting

United States v. Giordano, 416 U.S. 505, 515 (1974)); see also United States v. Mingo, 2014 WL

4443485 at *8-*9 (E.D. La. Sept. 9, 2014) (discussing the necessity requirement).

               b. Parties’ Arguments

                       i. Defendants’ Arguments

       Defendants argue that, under Section 2518(3)(c), wiretaps are only appropriate where

traditional investigative techniques have failed, are unlikely to succeed, or are too dangerous to

attempt, and the wiretap applications in this investigation did not meet this standard. (Machado-

Galeana’s Motion, Doc. 416-1 at 7; Romero’s Motion, Doc. 395-1 at 2).                According to

Defendants, the DEA’s investigation had been underway for only three or four months and, in an

attempt to characterize the investigation as one in which normal investigative techniques had

failed, Courrege resorted to “conclusory language, boilerplate language, misrepresentations, and

misstatements.” (Doc. 416-1 at 7; see also Doc. 395-1 at 2 (wiretap applications consisted of

“nothing more than voluminous ‘fluff’ that appears to address statutory concerns, but is nothing



                                                14
    Case 3:15-cr-00032-JWD-EWD               Document 469          10/13/17     Page 15 of 24




more than boiler plate or conclusory language”). Throughout his Motion, Machado-Galeana

repeatedly argues that Courrege’s statements do not discuss the effectiveness of an investigative

technique in this investigation, rather than investigations generally, and that the “necessity”

requirement is not satisfied by stating either that a wiretap permits other investigative techniques

to become more effective or that a particular traditional technique, in isolation, will be

insufficient to achieve the investigation’s goals. (See, e.g., Doc. 416-1 at 8-14.)

       With respect to confidential sources, Machado-Galeana maintains that, despite

Courrege’s “misgivings” about confidential sources, a confidential source was the “wellspring of

information” in this case. (Doc. 416-1 at 8). Furthermore, Courrege does not explain why

additional confidential sources could not be developed. (Id.). Romero similarly argues that the

use of confidential sources proved “fruitful” in the investigation and, although the investigation

“evolved to no longer needing the confidential source,” there is no reason to believe that agents

could not continue to use the source or recruit others. (Doc. 395-1 at 2-3).

       Next, Machado-Galeana argues that controlled purchases also demonstrate that normal

investigative techniques were “gain[ing] traction”: the purchases were for successively larger

quantities of drugs and permitted agents to increase the frequency of their contacts with the

organization and the number of individuals they were in contact with. (Doc. 416-1 at 9).

According to Machado-Galeana, the relationship between Nava and the agents “seemed to be

blossoming into one of trust.”      (Id.; see also Doc. 419-3 (line sheets)).         Romero makes

substantially the same arguments and further observes that agents were “able to even dictate

quantity” during the transactions. (Doc. 395-1 at 3).

       With respect to physical surveillance, Machado-Galeana observes that, after documenting

physical surveillance’s shortcomings, Courrege goes on to list physical surveillance measures



                                                 15
       Case 3:15-cr-00032-JWD-EWD           Document 469        10/13/17     Page 16 of 24




taken and states that they have permitted agents to identify some vehicles used by the

organization. (Doc. 416-1 at 10). Machado-Galeana also takes issue with the stop of the Ford

F-150, arguing that it is unclear why the vehicle was stopped instead of being followed longer.

(Id. at 10-11). Romero similarly argues that physical surveillance was “working and providing

valuable information” in this case, including identifying vehicles on which GPS trackers had

been or could be installed and revealing activities at Machado-Galeana’s residence. (Doc. 395-1

at 3).

         Machado-Galeana then argues that undercover agents were also effective in the

investigation, reiterating that they were in “constant contact” with Nava, with whom they had

developed a trusting relationship during the four months of the investigation. (Doc. 416-1 at 11-

12). Romero argues that two undercover agents “effectively embedded themselves” within the

organization and made “at least half a dozen” drug purchases in increasing quantities, suggesting

that, with more time, their need for greater quantities would lead to higher level producers.

(Doc. 395-1 at 3-4).

         Machado-Galeana maintains that Courrege’s statements regarding search warrants were

“particularly fraught with conclusory statements and misleading information.” (Doc. 416-1 at

12).     Machado-Galeana also observes that Nava is not a Mexican national, so Courrege’s

statement regarding the likely behavior of Mexican nationals does not apply to him, and that

Nava in fact cooperated following his arrest. (Id.). Romero argues that the search warrants

obtained in this case were “quite effective” and were obtained via physical surveillance of

suspects and their residences during drug transactions. (Doc. 395-1 at 4).

         Machado-Galeana also argues that Courrege was likely unaware of individuals who could

be subpoenaed because this investigation was still “in [its] infancy;” “[i]f the dearth of



                                               16
     Case 3:15-cr-00032-JWD-EWD                     Document 469            10/13/17        Page 17 of 24




information provides the required necessity, the [G]overnment is incentivized to gather little

information and ask for wiretaps almost immediately.” (Doc. 416-1 at 12-13). Romero argues

that “many drug cases” involve cooperating witnesses and that, in this case, Nava and other co-

defendants appeared “eager” to cooperate. (Doc. 395-1 at 4).

        Machado-Galeana argues that Courrege provides no support for his conclusion that a

trash search would be unsuccessful or that residents might mistake a trash search for illegal

activity. (Doc. 416-1 at 13). He also argues that use of a GPS tracking device, combined with

other surveillance techniques, allows agents to track suspect movements and determine the

possible locations of drug stashes, drug suppliers, and drug sale locations. (Id.at 14). Machado-

Galeana acknowledges that a wiretap may make it “easier” to accomplish the goals of the

investigation, but this does not satisfy the necessity requirement. (Id.).

        With respect to pen registers, trap-and-trace devices, and toll analyses, both Machado-

Galeana and Romero argue that these techniques were effective in this case, permitting agents to

identify Machado-Galeana and Romero. (Id. at 14-15; Doc. 395-1 at 4). Finally, Machado-

Galeana argues that Courrege’s explanation of mail cover requests is boilerplate and does not

demonstrate necessity. (Doc. 416-1 at 15).

        Additionally, Machado-Galeana argues that the second wiretap application is a “carbon

copy” of the first wiretap application in most relevant respects and does not meet the necessity

requirement “standing on its own.” (Id. at 16-17).3

        During the April 11, 2017 hearing, Defendants generally reiterated their arguments in

support of the Wiretap Motions, observing that the investigation was a “new operation” and that


3
 The Wiretap Motions also requested a hearing pursuant to Franks v. Delaware, 483 U.S. 154 (1978), arguing that
Courrege’s affidavits contained false statements and omissions made with reckless disregard for the truth. (Doc.
416-1 at 18-20; Doc. 395-1 at 4). The Court denied this request for reasons discussed on the record during the April
11, 2017 hearing. (Doc. 450 at 1; Hrg. Tr. at 24:20-25:5).

                                                        17
    Case 3:15-cr-00032-JWD-EWD              Document 469         10/13/17     Page 18 of 24




there was no showing that using traditional investigative techniques would have prevented agents

from going further up the “food chain.” (Hrg. Tr. at 27:25-34:9). Defendants also emphasized

that, on one occasion, Nava had asked whether an undercover agent wanted to “meet [his] dude”

or continue working with Machado-Galeana; the agent asked to continue to work with Machado-

Galeana and made “no effort” to pursue this additional lead. (Id. at 33:17-24; see also Doc. 419-

3 at 20).      Machado-Galeana and Romero’s post-hearing briefs contend that “every normal

investigative procedure utilized was working”: the DEA used undercover agents, surveillance,

search warrants, and guilty pleas effectively during this investigation. (Doc. 457 at 1-2; Doc.

461 at 1-3).

                        ii. The Government’s Arguments

          The Government argues that the wiretap applications provided an “ample basis” to

conclude that traditional investigative techniques would not be successful in the DEA’s

investigation. (Doc. 435 at 22). When agents applied for the wiretaps, they believed that they

were dealing with a Mexican cartel capable of delivering pounds of high-grade

methamphetamine. (Id. at 22). Agents did not “rush to get a wiretap” as a first measure, but, for

the reasons discussed in Courrege’s affidavits, traditional investigative techniques provided

limited access to the organization and its members. (See id. at 22-25). Although agents were

purchasing “ever-increasing amounts” of drugs, they were not accomplishing the goals of their

investigation because of the manner in which the organization operated. (Id. at 23-24).

          The Government also argues that Romero would not have been identified as a criminal

associate absent the first wiretap, but his role remained uncertain before the second wiretap. (Id.

at 24).     Moreover, using traditional investigative techniques had led agents to the “wrong

conclusion” about the roles Nava and Machado-Galeana played in the organization. (Id. at 24-



                                                18
    Case 3:15-cr-00032-JWD-EWD               Document 469         10/13/17     Page 19 of 24




25). The Government also argues that it was permissible for Courrege’s affidavits to contain

statements about his general investigative experience in the “type of crime involved and the

particular facts of the case at hand,” and the affidavits were made in good faith in reliance on his

experience and contained more than a “barebones” recitation of traditional investigative

techniques and their effectiveness. (Id. at 26).

       During the hearing, the Government reiterated its arguments in support of the wiretaps,

further observing that the two applications were similar because Nava and Machado-Galeana

worked together out of the same locations, not because agents “paste and copied.” (Hrg. Tr. at

25:12-27:19). The Government also argued that agents reasonably concluded, based on their

experience with gang investigations, that continuing to use controlled buys or meeting Nava’s

“dude” would not allow them to “move up” the organization because lower-level distributors

would not risk being “sidestep[ped]” and losing money by introducing agents to a higher-level

distributor. (Id. at 34:12-36:19). In its post-hearing brief, the Government argues that wiretaps

were not sought as an “initial step” in this investigation and its burden to prove necessity is not

“great.” (Doc. 460 at 3). The Government also observes that Nava was “already supplying”

customers with ten pounds of drugs at a time, and Courrege therefore reasonably stated that Nava

would continue to supply drugs “following the same routine” and without introducing agents to

higher-level sources. (Id. at 4-5).

               c. Analysis

       As discussed above, Section 2518(3)(c) provides that a wiretap may be authorized where

“normal investigative procedures have been tried and have failed or reasonably appear to be

unlikely to succeed if tried or to be too dangerous.” A request for a wiretap need not “show a

comprehensive exhaustion of all possible techniques;” the requirement is intended to ensure that



                                                   19
    Case 3:15-cr-00032-JWD-EWD              Document 469         10/13/17     Page 20 of 24




wiretap authorization procedures are not “routinely employed as the initial step in criminal

investigation.” Hyde, 574 F.2d at 867. The Fifth Circuit further explained:

       We first note that [Section 2518(c)] must be read in a common sense fashion. [It
       is] “simply designed to assure that wiretapping is not resorted to in situations
       where traditional investigative techniques would suffice to expose the crime.”
       (citation omitted.) [Its] purpose “is not to foreclose electronic surveillance until
       every other imaginable method of investigation has been unsuccessfully
       attempted, but simply to inform the issuing judge of the difficulties involved in
       the use of conventional techniques.” (citation omitted.) [United States v.
       Robertson, 504 F.2d 289, 293 (5th Cir. 1974)].

       In short, courts will not invalidate a wiretap order simply because defense lawyers
       are able to suggest post factum some investigative technique that might have been
       used and was not. It is enough if the affidavit explains the prospective or
       retrospective failure of several investigative techniques that reasonably suggest
       themselves.

Id.; see also United States v. Guerra-Marez, 928 F.2d 665, 669-70 (5th Cir. 1991) (“[C]ourts are

reluctant to impose their hindsight upon law enforcement agencies, and the proponent of the

application need not establish that ‘every other imaginable mode of investigation would be

unsuccessful.’” (quoting United States v. Diadone, 558 F.2d 775, 778 (5th Cir. 1977))).

       In Guerra-Marez, the Fifth Circuit upheld as valid a wiretap authorization related to an

extensive drug distribution operation. 928 F.2d at 668, 671. As the Fifth Circuit observed,

although undercover drug buys, surveillance, trash searches, and the use of a cooperator were

attempted and initially proved “fruitful,” “gaps in the government’s case were evident.” Id. at

668-69, 671. Specifically:

       [T]he quantity of heroin obtained through undercover drug buys was too small to
       prove a large-scale conspiracy. Some members of the ring became conscious of
       surveillance, frequently eluding the agents or refusing to deal with them. The
       agents’ efforts to identify [the head of the trafficking ring’s] suppliers were also
       frustrated by their inability to obtain advance warning of major incoming
       shipments of drugs. Although [the cooperator] occasionally witnessed large
       heroin transactions, such viewings were accidental and uncorroborated. The
       government could have reasonably concluded that attempting to elicit further



                                               20
    Case 3:15-cr-00032-JWD-EWD                Document 469         10/13/17      Page 21 of 24




       information through [the cooperator] would have aroused the suspicions of other
       participants, thus endangering both its informant and the investigation.

Id. at 671; see also United States v. Collins, 972 F.2d 1385, 1412 (5th Cir. 1992) (wiretap

application met necessity requirement in part because physical surveillance “would show that

meetings were taking place but would not supply the content of those meetings”). The Fifth

Circuit has repeatedly ruled that an affidavit can meet the necessity requirement by providing

reasons to believe that informants or undercover agents cannot infiltrate a trafficking

organization at high enough level to prosecute the organization’s managers. United States v.

Krout, 66 F.3d 1420, 1425 (5th Cir. 1995) (citing Guerra-Marez, 928 F.2d at 671; United States

v. Webster, 734 F.2d 1048-1055 (5th Cir. 1984)).

       This Court has previously considered the necessity requirement in United States v.

Edwards, 124 F. Supp. 2d 387 (M.D. La., Aug. 22, 2000) (Polozola, C.J.). There, the Court

ruled that the necessity standard was met because the affidavit gave a detailed account of the

investigative techniques used by the agents and asserted that a wiretap was necessary due to

“(1) the covert nature of the offense; (2) the nature of the relationship between the parties; (3) the

lack of direct physical evidence of crimes of the nature of those alleged; and (4) the lack of

sufficient detail from pen registers alone.” Id. at 400-01.

       Here, under the broad “common sense” approach required, the Court is satisfied that the

affidavits in support of the wiretap applications met the necessity requirement. The goal of the

investigation was not to arrest and prosecute Nava or Machado-Galeana, but to investigate and

disrupt an apparently wide-ranging, sophisticated, and international drug trafficking conspiracy.

As described in Courrege’s affidavits, although traditional investigative techniques provided

access to Nava and Machado-Galeana and evidence that might permit their conviction, agents

reasonably believed that these techniques would not permit agents to move “up the food chain”

                                                 21
    Case 3:15-cr-00032-JWD-EWD             Document 469          10/13/17    Page 22 of 24




consistent with the goals of the investigation. See, e.g., Krout, 66 F.3d at 1425. Defendants

contend that agents were developing a trusting relationship with Nava and Machado-Galeana

but, from early in the investigation, Nava represented that he could supply “any quantity of

methamphetamine [UC-1] wished to purchase,” (Doc. 435-1 at 29), arguably obviating the need

for Nava or Machado-Galeana to introduce agents to suppliers regardless of the strength of their

relationship. Agents could reasonably have concluded that, once the general contours of the

working relationship among Nava, Machado-Galeana, and the undercover agents were

established, the investigation would have stalled at these lower-level traffickers. This was

sufficient to meet the necessity requirement. See Krout, 66 F.3d at 1425; Guerra-Marez, 928

F.2d at 671; Webster, 734 F.2d at 1048-1055.

        Defendants also object at length to the use of “boilerplate” language in Courrege’s

affidavits.   However, although Courrege’s affidavits contained some generally applicable

“boilerplate” statements, they also contained case-specific information regarding the use of

traditional investigative techniques, including the extent to which they had been successfully

attempted, why Courrege believed them insufficient to the overall needs of the investigation, and

how they would be more effective when combined with a wiretap. (See Doc. 435-1 at 53-70).

An agent’s affidavit can meet the necessity requirement through a combination of boilerplate

statements and case-specific information. See United States v. Madrid, 916 F. Supp. 2d 730, 755

(W.D. Tex. Sept. 25, 2012) (citing United States v. Campos, 541 F.3d 735, 749 (7th Cir. 2008);

United States v. Landmesser, 553 F.2d 17, 20 (6th Cir. 1977)).

        Defendants further contend that agents left some leads, like Nava’s “dude,” unexplored

and that traditional investigative techniques, particularly undercover buys and search warrants,

have led to the discovery of much of the evidence obtained in this action. (See Doc. 416-1 at 8-



                                               22
    Case 3:15-cr-00032-JWD-EWD              Document 469         10/13/17     Page 23 of 24




16; Doc. 395-1 at 2-4). First, the Court notes that some of the traditional methods used in this

action were made more effective through the use of a wiretap; indeed, the affidavit in support of

the search warrants described conversations that, in conjunction with other techniques, ultimately

led agents to surveil and obtain probable cause to search several locations. (See, e.g., Doc. 435-3

at 11-30). Although not directly relevant to whether a wiretap was “necessary,” this undermines

Defendants’ apparent conclusion that, because traditional investigative techniques resulted in the

discovery of evidence after the wiretaps were in place, these techniques alone were sufficient to

the needs of the investigation.

       Regardless, Defendants’ evaluation is post hoc, speculative, and depends substantially on

developments that agents were not in a position to foresee, especially the information obtained

from the unnamed co-defendant following the February 24, 2015 arrest. As the Fifth Circuit has

cautioned, courts will not invalidate a wiretap order “simply because defense lawyers are able to

suggest post factum some investigative technique that might have been used and was not.”

Hyde, 574 F.2d at 867. An affidavit need only “explain[] the prospective or retrospective failure

of several investigative techniques that reasonably suggest themselves.” Id. As discussed above,

Courrege’s affidavits did so.

       Additionally, with respect to the second wiretap application, it is true that the second

application is virtually identical to the first in many respects. (Doc. 416-1 at 16-17). This is

unsurprising, however, as it was related to the same investigation and its allegations of probable

cause were supported by background information that was also relevant to the first application.

Defendants’ characterization of the duplicative allegations as “attempting to shoehorn the

investigatory work conducted before applying for the [first wiretap] into the application for [the

second wiretap]” is therefore inapt. Cf. Madrid, 916 F. Supp. 2d at 755 (“[T]he Government is



                                                23
    Case 3:15-cr-00032-JWD-EWD               Document 469         10/13/17     Page 24 of 24




not prohibited from using boilerplate language as long as it also provides additional new

information in each successive affidavit, which is sufficient to justify the issuance of each of the

wiretap authorizations.”); United States v. Oriakhi, 57 F.3d 1290, 1298 (4th Cir. 1995) (“While

the several affidavits for the various wiretaps involved may have relied on the same facts, their

recitation was not boilerplate.”). There is also no evidence that the effectiveness of traditional

investigative techniques was meaningfully different for the first and second applications.

Moreover, the second application contained statements demonstrating the need to tap Machado-

Galeana’s phone in addition to Nava’s, including particularly statements about the California

supplier and the need to investigate Romero and establish his role in the conspiracy. (Doc. 435-2

at 33-35, 63-64).

       In short, the necessity requirement is to be applied in a “common sense” way, and the

Fifth Circuit has characterized the requirement as designed to “assure that wiretapping is not

resorted to in situations where traditional investigative techniques would suffice to expose the

crime,” “inform the issuing judge of the difficulties involved in the use of conventional

techniques,” and ensure that wiretaps are not “routinely employed as the initial step in criminal

investigation.” Hyde, 574 F.2d at 867. Courrege’s affidavits met this standard.

       IV.     CONCLUSION

       Accordingly, IT IS ORDERED that the Wiretap Motions (Docs. 395, 416, 419) are

DENIED.

       Signed in Baton Rouge, Louisiana, on October 13, 2017.




                                                  S
                                         JUDGE JOHN W. deGRAVELLES
                                         UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF LOUISIANA
                                                24
